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                      United States Court of Appeals
                                  FOR THE DISTRICT OF COLUMBIA CIRCUIT
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No. 23-1157                                                      September Term, 2022
                                                                               EPA-88FR36654
                                                        Filed On: July 26, 2023 [2009732]
State of Utah, by and through its Governor,
Spencer J. Cox, and its Attorney General,
Sean D. Reyes,

                   Petitioner

         v.

Environmental Protection Agency and
Michael S. Regan, Administrator, U.S. EPA,

                   Respondents


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Consolidated with 23-1181, 23-1183,
23-1190, 23-1191, 23-1193

                                              ORDER

       It is ORDERED, on the court's own motion, that these cases be consolidated.
Petitioners in case No. 23-1193 are directed to file the following document(s) by the
indicated date(s):

          Docketing Statement Form                                       August 25, 2023
          Statement of Issues to be Raised                               August 25, 2023

                                                               FOR THE COURT:
                                                               Mark J. Langer, Clerk

                                                       BY:     /s/
                                                               Tatiana A. Magruder
                                                               Deputy Clerk

The following forms and notices are available on the Court's website:

         Agency Docketing Statement Form
